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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                                  No. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                       DEFENDANT

                                             ORDER

       Pending before the Court is defendant’s Unopposed Motion to Continue the Revocation

hearing currently set for Thursday, September 5, 2013. The motion is GRANTED. Document #86.

The revocation hearing will be reset by separate order.

       IT IS SO ORDERED this 4th day of September, 2013.



                                                     __________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
